 

Lé-PL OZ0Z/62/FO NWOS BAD

United States District Courf S2:2:20-90-00013-KAJ Doc #: 1 Filed: 06/03/20 RERJEMENS PE PPORGIERD HSE

Violation Notice CS6C

 

 

 

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The foregoing statement is based upon:
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Date (mmiddyyy) OAScer's Signature

Probable couse hes been stated for fs esuance of e warrant.

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Date (mvidcyyyy) U.S. Magistrate duke
